                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION


    UNITED STATES OF AMERICA                               )          Criminal Action No. 3:13CR00001
                                                           )
    v.                                                     )          ORDER
                                                           )          By: Hon. Glen E. Conrad
    THOMAS EARL FAULLS                                     )          Senior United States District Judge


         Petitioner Thomas Earl Faulls has filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255, in which he challenges the validity of his conviction for interstate

domestic violence in violation of 18 U.S.C. § 2261. Faulls argues that the conviction is invalid

because the predicate offense upon which it was based—aggravated sexual abuse in violation of

18 U.S.C. § 2241—does not qualify as a “crime of violence” for purposes of § 2261. The court

notes that a case pending in the United States Court of Appeals for the Fourth Circuit, United

States v. Jackson, No. 20-9, involves a nearly identical issue: whether the crime of aggravated

sexual abuse constitutes a “crime of violence” for purposes of 18 U.S.C. § 924(c). 1 That matter is

currently held in abeyance pending decision of the United States Supreme Court in Borden v.

United States, No. 19-5410, which was argued on November 3, 2020. Finding good cause, it is

hereby

                                                   ORDERED




1
  The force clause in 18 U.S.C. § 924(c) provides essentially the same definition for “crime of violence” as that in
the force clause in 18 U.S.C. § 16, which in turn provides the relevant definition for purposes of 18 U.S.C. § 2261,
under which Faulls was convicted. See United States v. Kearney, No. 18-4912, 2020 WL 7385141, at *2 (4th Cir.
Sept. 16, 2020); see also United States v. Wilkerson, 828 F. App’x 904, 905 (4th Cir. 2020) (“The ‘crime of
violence’ definition in § 16 is nearly identical to the ‘crime of violence’ definition set forth in 18 U.S.C. §
924(c)(3)(A) . . . .”).
that the petitioner’s motion shall be held in abeyance pending a decision by the United States Court

of Appeals for the Fourth Circuit in United States v. Jackson, No. 20-9, and by the United States

Supreme Court in Borden v. United States, No. 19-5410.

       The Clerk is directed to send copies of this order to all counsel of record.
                    8th day of January, 2021.
       DATED: This ____


                                                           Senior United States District Judge




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